                               Nos. 23-2192, 23-2194

              IN THE UNITED STATES COURT OF APPEALS
                      FOR THE TENTH CIRCUIT
                     _______________________________________________

                                  JAMES SPRINGER,

                                                         Plaintiff-Appellee/Cross-Appellant,

                                           v.

MICHELLE LUJAN GRISHAM, OFFICE OF THE GOVERNOR, PATRICK ALLEN, AND
               NEW MEXICO DEPARTMENT OF HEALTH,

                                                    Defendants-Appellants/Cross-Appellees.
                     _______________________________________________

On Appeal from the United States District Court for the District of New Mexico
             (No. 1:23-cv-00781-KWR-LF) (Hon. Kea W. Riggs)
                     _______________________________________________

      SUPPLEMENTAL BRIEF OF DEFENDANTS-APPELLANTS
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                                 INTRODUCTION

       Defendants-Appellants/Cross-Appellees submit this brief in response to the

Court’s order directing supplemental briefing regarding the impact of We the

Patriots, Inc. v. Lujan Grisham, 119 F.4th 1253 (10th Cir. 2024), on this cross-appeal.

As explained below, We the Patriots compels the conclusion that Springer lacks

standing to challenge the Parks Restriction or the Playgrounds Restriction because

unchallenged, overlapping state and local laws forbid the conduct in which he says

he wants to engage. This standing defect is not limited to the preliminary

injunction at issue in this appeal; it applies equally to all of Springer’s claims for

relief. Therefore, this Court should vacate the district court’s order granting a

preliminary injunction as to the Parks Restriction, dismiss the cross-appeal of the

district court’s denial of a preliminary injunction as to the Playgrounds Restriction,

and direct the district court to dismiss the case in its entirety.

                                     ARGUMENT

 I.    We the Patriots holds that separate, unchallenged legal obstacles
       negate standing

       The plaintiffs in We the Patriots challenged the same Parks and Playgrounds

Restrictions that Springer challenges here. Those restrictions prohibited firearm

carry in Albuquerque and Bernalillo County public parks and playgrounds.1 The


       1 The restrictions were in effect between September 2023 and October 2024,

when the Governor’s underlying order expired. See We the Patriots, 119 F.4th at

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district court denied the motion for a preliminary injunction of both the Parks and

Playgrounds Restrictions, and this Court, following supplemental briefing on

mootness and standing, dismissed the appeal of that order for lack of jurisdiction.

We the Patriots, 119 F.4th at 1261.2

       The Court first concluded that the appeal as to the Parks Restriction was

moot because the Parks Restriction had already been enjoined by the district court

in the present case, and therefore any further injunctive relief “would not have any

real-world effect.” Id. at 1258. It then dismissed the appeal as to the Playgrounds

Restriction for lack of standing. Id. at 1259-61. It noted that an injury is not

redressable “when an unchallenged legal obstacle is enforceable separately and

distinctly from the challenged provision,” id. at 1259 (quoting Bishop v. Smith, 760

F.3d 1070, 1078 (10th Cir. 2014)), and then considered whether such obstacles

existed in the plaintiffs’ case.

       The Court found that there are “multiple City and County restrictions on

firearm carry in public parks and playgrounds” in Albuquerque and Bernalillo



1255-56 & 1256 n.2. This Court concluded that expiry of the order did not moot
the case on the basis of voluntary cessation. See id. Defendants did not have an
opportunity to brief that issue, see Rule 28(j) Letter, We the Patriots, Nos. 23-2166,
23-2167, 23-2185 (Oct. 16, 2024), Doc. 91 (notifying Court of expiry of order and
offering to submit supplemental briefing on mootness if helpful to Court), but do
not contest it here.
       2 See also Defs.’ Suppl. Br., We the Patriots, Nos. 23-2166, 23-2167, 23-2185

(Aug. 14, 2024), Doc. 82.

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County. Id. Specifically, the Court explained, a Bernalillo County ordinance

prohibits firearms in playgrounds. See id. at 1259 (citing Bernalillo Cnty. Ord.

§§ 58-5, 58-12(b)(27)).3 In addition, Albuquerque applies New Mexico state law

prohibitions on firearm carry in schools and universities—which extend to non-

school property used for school- or university-related activities—to at least 25

playgrounds. See id. (citing City of Albuquerque Administrative Instructions Nos. 5-

19 & 5-20 (“Instruction 5-19” and “Instruction 5-20”); N.M. Stat. Ann. §§ 30-7-

2.1(A) & (B)(2)). The Court also noted that Albuquerque prohibits firearms on

“Open Space Lands.” Id. (citing Albuquerque Code of Ords. § 5-8-6(G)).4 Each of

these restrictions is presumptively constitutional. See id. at 1260 (“[W]e give all

statutes a presumption of constitutionality and we must apply the same

presumption to [] ordinances.” (citation omitted)).

      The Court concluded that these separate prohibitions deprived the plaintiffs

of standing, finding it had “no reason to believe that the playgrounds that Plaintiffs

state they intend to visit are not already subject to independent and unchallenged


      3 This ordinance prohibits firearms in any “park and recreation facility,

except ... as otherwise authorized in accordance with county, state or federal laws”
and defines “[p]ark and recreation facility” to include, among others, “all parks
[and] playgrounds … managed by the parks and recreation department.” Id. The
ordinance also creates a similar prohibition for Bernalillo County “open space.” Id.
§ 58-57(b)(27).
      4 Defendants attach Albuquerque Code of Ordinance § 5-8-6 as Exhibit 1;

Instructions 5-20 and 5-19 as Exhibit 2; and Bernalillo County Ordinances § 58-
12, 58-5, and 58-57 as Exhibit 3 to this Supplemental Brief.

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firearm carry prohibitions, and we are unable to redress injuries caused by the

independent actions of third parties—such as the City and the County—that are

not before us.” Id. at 1261. The plaintiffs had alleged only a general intent to visit

“playgrounds” and had not identified “a single specific playground that they

plan[ned] to visit” or specified “whether such playgrounds [we]re covered by City

and County regulations.” Id. at 1260. It was the plaintiffs’ burden to establish that a

favorable decision would provide redress, and their failure to identify specific

playgrounds not covered by separate prohibitions meant they had failed to

establish that “enjoining enforcement of the playgrounds restriction would allow

them to lawfully carry firearms in playgrounds.” Id. Thus, the Court could not

“provide any meaningful relief,” and the plaintiffs lacked standing. Id. at 1260-61.5


      5 The rule that plaintiffs fail to establish redressability or causation when “an

unchallenged legal obstacle is enforceable separately and distinctly from the
challenged provision,” Bishop, 760 F.3d at 1078, applies in other circuits too. See,
e.g., White v. United States, 601 F.3d 545, 552 (6th Cir. 2010) (dismissing challenge to
federal prohibition on cockfighting because separate, state-level prohibitions on
cockfighting “would remain in place notwithstanding any action we might take in
regard to the [federal law]”); Kaspersky Lab, Inc. v. U.S. Dep’t of Homeland Sec., 909
F.3d 446, 465 (D.C. Cir. 2018) (dismissing challenge to agency directive
prohibiting federal agencies from using plaintiff’s cybersecurity products because
federal statute imposed broader prohibition); Delta Constr. Co. v. E.P.A., 783 F.3d
1291, 1296-97 (D.C. Cir. 2015) (holding that plaintiffs failed to establish causation
and redressability where they challenged EPA regulation but not “substantially
identical” NHTSA regulation); Exotic Animal Owners v. New York, 98 F. App’x 905,
907 (2d Cir. 2004) (summary order) (dismissing monkey owner’s challenge to New
York State reporting requirements for owners of wild animals because New York
City separately banned the possession of such animals); San Diego Cnty. Gun Rts.
Comm. v. Reno, 98 F.3d 1121, 1130 (9th Cir. 1996) (holding that injury was not

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II.   Springer lacks standing to seek preliminary injunctive relief

      The relevant jurisdictional facts in the present case are just like those in We

the Patriots, and therefore Springer lacks standing to seek a preliminary injunction

against the Parks and Playgrounds Restrictions.

      Regarding the Parks Restriction, Springer has not identified any specific

parks he intends to visit with a firearm. Instead, he declared only that the public

health order prohibited him from carrying a firearm for “the months of September

and October at the parks that [he] attend[ed] for non-scholastic youth sporting

events or just to enjoy the beautiful fall weather in Albuquerque during the balloon

fiesta.” App. 55. That assertion failed to state a future intent to visit any parks and

did not identify any specific parks in Albuquerque or Bernalillo County. Springer

failed to establish standing for that reason alone. See Defs.’ Opening Br. 44-45 n.33.

      Even putting that aside, We the Patriots confirms that the separate,

overlapping restrictions render Springer’s alleged injury not redressable. Just as for

playgrounds, multiple other restrictions prohibit firearms in city and county parks.

Instruction 5-20 clarifies that N.M. Stat. Ann. § 30-7-2.1 prohibits firearms in

“Balloon Fiesta Park, which is used for school activities,” and in “neighborhood

parks, which are used” for public school functions. Instruction 5-20 §§ 1(B)(2), (5).



traceable to challenged federal statute when it was also traceable to state statute);
see also Charles Alan Wright et al., Federal Practice and Procedure § 3531.5 (3d ed. 2008
& Supp. 2024) (describing doctrine and collecting cases).

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A Bernalillo County ordinance generally prohibits firearms in parks and “open

space[s],” Bernalillo Cnty. Ord. § 58-12(b)(27), and Albuquerque also prohibits

firearms on “Open Space Lands,” Albuquerque Code of Ords. § 5-8-6(G).

      Just as in We the Patriots, it was Springer’s burden to establish standing by

identifying one or more parks in which he intended to carry firearms, where doing

so is not forbidden by a separate, unchallenged law. Even if his bare-bones

declaration were generously read to specify a desire to carry in Balloon Fiesta Park,

he still would have failed to show a redressable injury, given that the Administrative

Instruction specifically includes that park. See Instruction 5-20 § 1(B)(5). And just

like the plaintiffs in We the Patriots, Springer has not challenged those separate

restrictions, nor has he claimed an intent to carry illegally (in violation of those

restrictions) if the Parks Restriction were enjoined. Cf. We the Patriots, 119 F.4th at

1261 (citing O’Shea v. Littleton, 414 U.S. 488, 497 (1974), for proposition that “courts

will generally assume that litigants ‘will conduct their activities within the law and

so to avoid prosecution and conviction’”). Thus, Springer has failed to demonstrate

that enjoining the Parks Restriction would redress his alleged injury.

      As to the Playgrounds Restriction, the district court appropriately dismissed

Springer’s claim for lack of standing because he “does not assert that he has ever,

or intends to, carry firearms in playgrounds.” App. 91; see also App. 55 (Springer

declaration lacking any mention of playgrounds); Defs.’ Resp. and Reply Br. 32-34.



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Springer has also waived any standing arguments regarding the Playgrounds

Restriction by failing to raise them in his opening brief on appeal. See Defs.’ Resp.

and Reply Br. 30-32. We the Patriots now provides an additional basis for concluding

that Springer lacks standing: the separate restrictions identified in We the Patriots

prohibit Springer from carrying firearms in playgrounds, and he has not challenged

those restrictions in this lawsuit. See 119 F.4th at 1259-61. He also has not specified

whether he intends to visit any playgrounds that are not covered by those separate

restrictions, nor has he declared he would carry illegally (in violation of those

restrictions) if the Playgrounds Restriction were enjoined. Thus, the facts are

identical to those in We the Patriots, and Springer has not established redressability.

       In sum, We the Patriots puts beyond doubt that Springer lacks standing to seek

preliminary injunctive relief against the Parks and Playgrounds Restrictions.

Therefore, this Court should vacate the district court’s decision enjoining the Parks

Restriction and dismiss Springer’s cross-appeal of the district court’s denial of a

preliminary injunction of the Playgrounds Restriction for lack of jurisdiction.

III.   Springer lacks standing for all additional claims for relief

       We the Patriots not only ends this appeal; it ends this entire case. In addition to

a preliminary injunction, Springer seeks a declaration that the public health orders

are unconstitutional, a permanent injunction, damages, costs and expenses, and

any other “appropriate relief.” App. 19-20. It is his burden to establish standing for



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each of these forms of relief. TransUnion LLC v. Ramirez, 594 U.S. 413, 431 (2021).

Springer has not—and cannot—meet that burden for any of his claims because

they suffer from the same redressability issue that dooms his claim for preliminary

injunctive relief.

       Although We the Patriots did not reach this issue, courts routinely dismiss

claims in their entirety because the existence of unchallenged, overlapping laws

defeats redressability for all forms of relief. For example, in Valdez v. Lujan Grisham,

No. 22-2112, 2024 WL 2319752 (10th Cir. May 22, 2024) (unpublished), this

Court ordered the district court to dismiss a case seeking “damages as well as

declaratory and injunctive relief” for lack of jurisdiction, because unchallenged,

overlapping restrictions defeated redressability. See id. at *1, *3-5.6 Other circuits

have done the same. See, e.g., White, 601 F.3d at 552, 556 (similar, for case in which

complaint sought declaratory judgment and permanent injunctive relief); Kaspersky

Lab, 909 F.3d at 465 (similar, for case in which complaint sought declaratory

judgment as well as preliminary and permanent injunctive relief); Exotic Animal




       6 Although unpublished, Valdez is persuasive. Its reasoning is consistent with

We the Patriots and the out-of-circuit authorities discussed above, see supra n.5, and
We the Patriots relied on the discussion of redressability in an earlier (also
unpublished) opinion in the case, calling it “instructive,” 119 F.4th at 1258, 1259
n.3 (citing Valdez v. Lujan Grisham, No. 21-2105, 2022 WL 2129071, at *2-3 (10th
Cir. June 14, 2022)).

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Owners, 98 F. App’x at 907 (similar, for request for declaratory relief).7 In each of

these cases, redressability concerns were the same across all types of relief sought.

See also Haaland v. Brackeen, 599 U.S. 255, 292-93 (2023) (explaining that request for

declaratory judgment “suffers from the same flaw”—lack of redressability—as

request for injunction).

      This Court should reach the same conclusion. All of Springer’s claims for

relief rest on the same foundation for standing: his bare-bones declaration that,

read generously, asserts a desire to carry firearms in Balloon Fiesta Park. See App.

55. As explained, Springer has not challenged the restrictions that separately and

independently prevent him from carrying guns in that park. See Instruction 5-20;

N.M. Stat. Ann. §§ 30-7-2.1(A) & (B)(2). So long as those restrictions are

unchallenged, any relief this Court could order—whether monetary, declaratory,

or injunctive—cannot redress his alleged injuries, because those restrictions

continue to prohibit him from carrying a firearm there. See We the Patriots, 119 F.4th

at 1257 (“[F]or a party to properly invoke federal jurisdiction, we must be able to



      7Although these decisions determined standing on appeal from the grant of a

motion to dismiss, the efficient course in this case would be to instruct the district
court to dismiss the entire case for lack of standing, rather than to instruct it only to
dismiss the claim for preliminary injunctive relief and then leave it to the district
court to apply We the Patriots and dismiss the remainder of the case (followed,
presumably, by another—albeit clearly meritless—appeal). See, e.g., Utah v. Babbitt,
137 F.3d 1193, 1197 (10th Cir. 1998) (vacating preliminary injunction and
remanding with instruction to dismiss claims for which plaintiffs lacked standing).

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redress their alleged injuries.”). Nor, for these same reasons, would any alleged

injuries be traceable to the challenged public health order. See, e.g., FDA v. All. for

Hippocratic Med., 602 U.S. 367, 380 (2024) (“The second and third standing

requirements—causation and redressability—are often ‘flip sides of the same

coin.’”). Furthermore, because it is “axiomatic that standing is evaluated as of the

time a case is filed,” Rio Grande Found. v. Oliver, 57 F.4th 1147, 1161 (10th Cir.

2023); Hansen v. Harper Excavating, Inc., 641 F.3d 1216, 1225 (10th Cir. 2011), these

are not deficiencies that Springer can cure on remand. See Rio Grande Found., 57

F.4th at 1162 (“Regardless of the stage of litigation …, the standing inquiry

remains focused on whether the party invoking jurisdiction had a sufficient stake in

the outcome when the suit was filed.”). For these reasons, this Court should, in

addition to vacating the injunction and dismissing Springer’s cross-appeal, direct

the district court to dismiss Springer’s remaining claims for lack of standing.

                                     CONCLUSION

       This Court should vacate the district court’s order preliminarily enjoining

the Parks Restriction, dismiss Springer’s cross-appeal of the district court’s denial of

his motion to preliminarily enjoin the Playgrounds Restriction, and order the

district court to dismiss this case in its entirety.




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December 16, 2024   Respectfully submitted,

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                      CERTIFICATE OF COMPLIANCE

      This supplemental brief complies with the type-volume limit and typeface

requirement specified in this Court’s order of December 4, 2024, because the body

of the brief is 10 pages long and the brief was prepared in 14-point Baskerville font.

                                       Respectfully submitted,

                                       /s/ Janet Carter
                                       Janet Carter




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                        CERTIFICATE OF SERVICE

      I hereby certify that on December 16, 2024, I filed the foregoing via the

CM/ECF filing system, which caused all counsel of record to be served by

electronic means.

                                      Respectfully submitted,

                                      /s/ Janet Carter
                                      Janet Carter




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EXHIBIT 1
§ 5-8-6 PROHIBITED ACTIVITIES.

 The following activities are prohibited in any Open Space Lands or Regional Preserves:
 (A) Criminal Trespass. Criminal trespass consists of unlawfully entering or remaining upon the land or property of
another, knowing that any consent to enter or remain has been denied or withdrawn by the person or persons lawfully in
possession of the premises or after the request or demand to leave the premises by the authorized representative of the
person or persons lawfully in possession of the premises.
 (B) Negligent Use of Weapons. Negligent use of weapons consists of:
   (1) Discharging a weapon within the city limits without legal justification; or
   (2) Endangering the safety of another or his property by handling or using a firearm or other deadly weapon in a
negligent manner.
  (C) Criminal Damage to Public Property. Criminal damage to public property consists of intentionally damaging to a value
of less than $1,000 any real or personal property of the city, county, state or United States government without the consent
of the owner thereof.
  (D) Operation of Motorcycles, Motorscooters, and Recreational Vehicles in Certain Areas off the Public Way.No person
shall ride or operate any motorcycle, motorscooter, off-road vehicle or recreational vehicle on any private property or public
property within one-quarter of a mile of any school, hospital, convalescent home or residence, except on a public way or
parking lot, or on a private road or driveway.
  (E) Removal of Natural Resources. No person shall dig or remove any soil, sand, gravel, rock, scoria, shrubs, trees, cacti,
or other plants from Open Space Lands or Regional Preserves.
 (F) Wildlife. No person shall harm, hunt, pursue, molest, harass, trap, collect, or remove any mammal, bird, reptile, or
amphibian animals or eggs or young of said animals on/from Open Space Lands or Regional Preserves.
  (G) Weapons and Firearms. No person shall carry, possess, or discharge any firearm, bow, crossbow, blowgun, or
spring-driven, compressed air or CO2 powered rifle or pistol on Open Space Lands or Regional Preserves.

 (H) Dumping of Waste, Refuse, Trash, Oil. No person shall dump, deposit, dispose, throw out, or leave behind any solid
waste, plant waste or trimmings, oil or grease, or any other form of rubbish or waste on Open Space Lands or Regional
Preserves in other than receptacles designated for that purpose.
  (I) Vandalism, Protection of Ethno-Historical Resources. No person shall mark or deface in any way any rock, wall,
surface, petroglyph or sign on any Open Space Lands or Regional Preserve, nor shall they remove or disturb any
archaeological site or artifact.
  (J) Alcoholic Beverages. Drinking or consuming of alcoholic beverages on Open Space Lands or Regional Preserves
shall be considered "Drinking in Public" and is hereby prohibited.
 (K) Fires. No person shall smoke or attempt to smoke or build or attempt to build a fire on Open Space Lands or
Regional Preserves, except as provided in Section 5-8-7(B)(6) of the Albuquerque Open Space Ordinance.
 (L) Camping. No person shall camp, except as provided in § 5-8-7.
('74 Code, § 5-6-6) (Ord. 23-1980; Am. Ord. 35-1987; Am. Ord. 63-2005)
EXHIBIT 2
                                                         AI NO: 5-20

       NOTING THE APPLICABILITY OF STATE LAW TO CONDITIONS TO ENTRY TO CITY OF
                 ALBUQUERQUE PARKS AND OTHER FACILITIES (8/31/2020)
ADMINISTRATIVE INSTRUCTION NO: 5-20
TITLE: Noting the Applicability of State Law to Conditions to Entry to City of Albuquerque Parks and Other Facilities
PRIMARY DEPARTMENTS: Parks and Recreation Department, Department of Family and Community Services,
Department of Senior Affairs
Secondary Departments: Albuquerque Police Department, Department of Municipal Development, Legal Department,
Albuquerque Fire Rescue
As set forth in Administrative Instruction No. 8-5 ("AI 8-5"), it is the policy of the City of Albuquerque to ensure that safe and
healthful working conditions exist for its employees, contractors, and the general public whose work involves the conducting
of business in city-owned buildings, on city-owned properties or in the course of normal business. Administrative Instruction
No. 5-19 ("AI 5-19") provided guidance on the policy set forth under AI 8-5 to City community centers, health and social
service centers, multigenerational centers, and senior centers under applicable State laws. In addition, both AI 8-5 and 5-19
indicated that the City may have liability under the Tort Claims Act for negligence in the operation of its facilities and
provides the need to ensure laws are observed and enforced.
This Administrative Instruction shall:
  (1) Ensure enforcement of the State's prohibition of carrying deadly weapons, including firearms, at City property or
facilities that are used for school or college related and sanctioned activities pursuant to NMSA 1978 § 30-7-2.1 and § 30-7-
2.4. This includes enforcement at certain City property or facilities used for such activities but not encompassed in AI 5-19;
and
 (2) Ensure that conditions of entry to City parks and recreations centers, established by the City herein, are enforced
under New Mexico's criminal trespass law, NMSA 1978 § 30-14-1(C) NMSA 1978, including a prohibition of carrying deadly
weapons at certain City property or facilities.
1. Prohibition of carrying deadly weapons, including firearms, at city property and facilities used for school or
college related and sanctioned activities
 A. The prohibition on deadly weapons and firearms in schools
NMSA 1978, § 30-7-2.1(A) makes it unlawful to carry a deadly weapon on "school premises," except by "(1) a peace officer;
(2) school security personnel; (3) a student, instructor or other school-authorized personnel engaged in army, navy, marine
corps or air force reserve officer training corps programs or state-authorized hunter safety training instruction; (4) a person
conducting or participating in a school-approved program, class or other activity involving the carrying of a deadly weapon;
or (5) a person older than nineteen years of age on school premises in a private automobile or other private means of
conveyance, for lawful protection of the person's or another's person or property." Those who commit unlawful carrying of a
deadly weapon on school premises may be charged with a fourth degree felony under NMSA 1978, § 30-7-2.1(C).
NMSA 1978, § 30-1-12 defines "deadly weapon" as "any firearm, whether loaded or unloaded; or any weapon which is
capable of producing death or great bodily harm, including but not restricted to any types of daggers, brass knuckles,
switchblade knives, bowie knives, poniards, butcher knives, dirk knives and all such weapons with which dangerous cuts can
be given, or with which dangerous thrusts can be inflicted, including swordcanes, and any kind of sharp pointed canes, also
slingshots, slung shots, bludgeons; or any other weapons with which dangerous wounds can be inflicted."
 B. Applicability of NMSA 1978, § 30-7-2.1 to City property and facilities
The state laws cited above are clear and unambiguous. The State legislature could have narrowly defined "public school
premises" and "university premises" to mean only those properties owned or leased by public schools or universities.
Instead, the Legislature chose expressly to include buildings and areas "that are not public school property" and "that are
not university property."
In addition to the buildings and grounds that house public schools, NMSA 1978, § 30-7-2.1(B)(2) defines "public school
premises" as "any other public buildings or grounds, including playing fields and parking areas that are not public school
property, in or on which public school-related and sanctioned activities are being performed."
Under this definition, the statute's prohibition, including the exception for law enforcement officers, applies to:
 (1) City property or facilities expressly covered by AI 5-19;
  (2) City neighborhood parks, which are used as playing areas for public schools and other public school programming,
including those used for the Food Services Program for Children in partnership with Albuquerque Public Schools;
 (3) City sports fields, including the Albuquerque Regional Sports Complex, and City golf courses, which are used for
public school and university sports or physical education classes, but not including facilities at Shooting Range Park;
 (4) City pools, including the surrounding parking lots, which are used for school activities;
 (5) Balloon Fiesta Park, which is used for school activities;
 (6) The Albuquerque Convention Center, which is used for public school graduations and other school activities;
  (7) Civic Plaza, which educators and students from Amy Biehl Charter High School regularly use for physical education
activities and in which playground equipment is located.
Exceptions: This AI is not applicable to the at Shooting Range Park, the Esperanza Bike Shop, the BMX Complex, Open
Space or other Parks and Recreation Department maintenance yards or administrative business offices.
2. Criminal trespass and the prohibition of deadly weapons on government property
 A. Criminal trespass
New Mexico's criminal trespass statute regarding government property may be used to disallow the carrying of firearms,
according to an Attorney General Advisory Letter dated September 8, 2011. Under NMSA 1978, § 30-14-1(C), "Criminal
trespass also consists of knowingly entering or remaining upon lands owned, operated or controlled by the state or any of its
political subdivisions knowing that consent to enter or remain is denied or withdrawn by the custodian thereof." As noted by
the 2011 Attorney General letter, this statute authorizes a political subdivision to consent to entry by others to its property,
establish reasonable conditions to consenting to entry, and enforce such conditions. Such conditions may include banning
dangerous weapons, including firearms, if the government "reasonably conclude[s] that adequate and proper security
requires imposing such a condition as a requirement for members of the public generally to access the" property.
If members of the public are properly advised of a condition, including the prohibition of carrying deadly weapons, to gain
entrance to a public facility, the trespass statute can be used for enforcement purposes. The facility at issue in the Attorney
General letter was a district attorney's office, which counties are required to provide. The letter stated the same condition
could be imposed by either the district attorney's office or the county, depending on which was the "custodian" of the
property for purposes of Section 30-14-1(C). However, this analysis did not turn on whether a state agency or local
government established the condition.
Provided this authority, the City of Albuquerque shall enforce this state law by ensuring adequate and proper security,
including a prohibition on the carrying of deadly weapons, with the exception of law enforcement officers, property and
facilities identified herein.
 B. Prohibiting possession of deadly weapons at certain City property and facilities
Pursuant to the City of Albuquerque's authority to impose and enforce conditions to entry to its property under New Mexico's
criminal trespass statute as interpreted by the Attorney General letter dated September 8, 2011, possession of deadly
weapons at the following City property and facilities is prohibited, with the exception of law enforcement officers, to ensure
adequate and proper security for City personnel and members of the public:
 (1) Any City property and facilities utilized for school sanctioned activity;
 (2) City parks or facilities listed in Section 1(B)(1) - (7),.
Notice shall be posted regarding this Administrative Instruction and the enforcement of NMSA 1978, § 30-7-2.1(A) and § 30-
14-1(C) at each property or facility in which this Administrative Instruction applies.
Preemption pursuant to Article II, §6 of the Constitution of New Mexico is not applicable because the right to keep and bear
arms does not encompass carrying deadly weapons, including firearms, under the circumstances and at the public places
set forth herein.
3. Prohibition of deadly weapons, including firearms, in sensitive places
 A. Sensitive places
Albuquerque saw the risk of firearms at parks on June 15, 2020. After armed counter-demonstrators confronted protestors
near Tiguex Park in Old Town, tensions escalated leading to physical altercations and an armed counter-demonstrator shot
a protestor four times. With the Albuquerque Police Department recovering a large number of firearms and ammunition, that
incident had the potential to be much more violent it was. The City of Albuquerque has the police power to protect its
inhabitants and preserve peace and order under NMSA 1978, § 3-18-1, and desires to exercise this authority to prevent
future incidents like the shooting on June 15, 2020.
In declaring the Second Amendment's individual right to bear arms in District of Columbia v. Heller, the United States
Supreme Court recognized the legitimacy of prohibitions on carrying firearms in "sensitive places." D.C. v. Heller, 554 U.S.
570, 626, 128 S. Ct. 2783, 2817, 171 L. Ed. 2d 637 (2008). The Court noted schools and government buildings as obvious
such places, but declined to provide an exhaustive list. Courts have since found public parks to be sensitive places.
Particularly, some jurisdictions have held there is no logical distinction between schools and parks where children recreate.
Warden v. Nickels, 697 F. Supp. 2d 1221, 1224 (W.D. Wash. 2010).
In denying a challenge to a statewide ban on firearms in parks, an Illinois' court not only found there was a compelling
argument that public parks were "sensitive places" but that the ban also withstood intermediate scrutiny under the Second
Amendment. People v. Bell, 2018 IL App (1st) 153373. The law was a justified restriction to protect the police and public
from dangerous weapons because large numbers of people congregate in parks for recreation.
 B. Prohibition of deadly weapons, including firearms, at certain City property or facilities deemed sensitive places
In accordance with established law, in order to protect citizens exercising their First Amendment rights as well as protecting
children who often congregate in public parks, recreational facilities, and plazas under a variety of circumstances, such City
owned property and facilities are "sensitive places." Possession of deadly weapons is prohibited at the following "sensitive
places," with the exception of law enforcement officers, to ensure adequate and proper security for City personnel and
members of the public:
 (1) Any City property utilized for school sanctioned activity;
 (2) City parks and recreation facilities listed in Section 1(B)(1)-(7)..
Notice shall be posted regarding this Administrative Instruction and the enforcement of NMSA 1978, § 30-18-1 at each
property or facility in which this Administrative Instruction applies.
Preemption pursuant to Article II, § 6 of the Constitution of New Mexico is not applicable because state law already
addresses carrying deadly weapons, including firearms, under the circumstances and at the public places set forth herein
and this Instruction merely clarifies the applicability of those state laws.
4. Severability
If any section, subsection, sentence, clause, word, or phrase of this Administrative Instruction is for any reason held to be
unconstitutional or otherwise invalid by any court of competent jurisdiction, such decision shall not affect the validity of the
remaining portions of this Administrative Instruction.




 ______________________________
 Sarita Nair
 Chief Administrative Officer
 ______________________________
 Effective Date




AI NO: 5-20 (pdf)
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